       Case 3:21-cv-00147-SDD-EWD               Document 104        06/09/21 Page 1 of 1




                            UNITED STATES DISTRICT COURT

                                              FOR THE

                             MIDDLE DISTRICT OF LOUISIANA


 CITY OF NEW ORLEANS, NEW
 ORLEANS MUNICIPAL EMPLOYEES
 RETIREMENT SYSTEM and NEW
 ORLEANS AVIATION BOARD,                             Docket No. 3:21-cv-00147-SDD

                                Plaintiffs,

                   v.

 BANK OF AMERICA CORPORATION, et
 al.,

                                Defendants.


                                      [PROPOSED] ORDER

       Considering the foregoing Stipulation of Dismissal with Prejudice pursuant to Federal

Rule of Civil Procedure 41(a)(1)(A)(ii) (Doc. No. 102):

       IT IS ORDERED that, to the extent claims asserted in this action have not already been

dismissed with prejudice, this action is DISMISSED in its entirety with prejudice, with each

party to bear its own attorneys’ fees and legal costs incurred in the action.

        Baton Rouge, Louisiana the 9th day of June, 2021.



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                                              HON. SHELLY D. DICK
                                         UNITED STATES DISTRICT JUDGE
